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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

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In re:                                                       : Chapter 11
                                                             :
IMERYS TALC AMERICA, INC., et al.,1                          : Case No. 19-10289 (LSS)
                                                             :
                    Debtors.                                 : (Joint Administration Requested)
                                                             :
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                NOTICE OF (I) FILING OF BANKRUPTCY PETITIONS
            AND RELATED DOCUMENTS AND (II) HEARING ON FIRST DAY
           MOTIONS SCHEDULED FOR FEBRUARY 14, 2019 AT 2:00 P.M. (ET)

                    PLEASE TAKE NOTICE that on February 13, 2019, the debtors and debtors-in-

possession in the above-captioned cases (collectively, the “Debtors”), filed voluntary petitions

for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the

“Bankruptcy Code”).

                    PLEASE TAKE FURTHER NOTICE that in addition to filing the voluntary

petitions, the Debtors filed the following first day motions and related documents (collectively,

the “First Day Motions”):2

         A.         Declaration of Alexandra Picard, Chief Financial Officer of the Debtors in
                    Support of Chapter 11 Petitions and First Day Pleadings [Docket No. 10 - filed
                    February 13, 2019]

         B.         First Day Motions:

                   1.      Debtors’ Motion for Order Under Fed. R. Bankr. P. 1015 and Del. Bankr.
                           L.R. 1015-1 Authorizing Joint Administration of Chapter 11 Cases
                           [Docket No. 2 - filed February 13, 2019]


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        The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Imerys Talc America, Inc. (6358), Imerys Talc Vermont, Inc. (9050), and Imerys Talc Canada Inc.
(6748). The Debtors’ address is 100 Mansell Court East, Suite 300, Roswell, Georgia 30076.
2
          The First Day Motions and other pleadings referenced herein are available online at the following address:
https://cases.primeclerk.com/imerystalc.



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                   2.    Debtors’ Motion for Order Pursuant to 11 U.S.C. § 1505 Authorizing
                         Imerys Talc Canada Inc. to Act as Foreign Representative [Docket No. 6 -
                         filed February 13, 2019]

                   3.    Debtors’ Motion for Order Under 11 U.S.C. § 105 Enforcing the
                         Protections of 11 U.S.C. §§ 362, 365, 525, and 541(c) [Docket No. 16 -
                         filed February 13, 2019]

                   4.    Debtors’ Application for Appointment of Prime Clerk LLC as Claims and
                         Noticing Agent [Docket No. 14 - filed February 13, 2019]

                   5.    Debtors’ Motion for Orders Under 11 U.S.C. §§ 105(a), 345, 363, 503(b),
                         and 507(a), Fed. R. Bankr. P. 6003 and 6004, and Del. Bankr. L.R. 2015-2
                         (I) Authorizing Continued Use of Existing Cash Management System,
                         Including Maintenance of Existing Bank Accounts, Checks, and Business
                         Forms, (II) Authorizing Continuation of Existing Deposit Practices, (III)
                         Approving the Continuation of Intercompany Transactions, and
                         (IV) Granting Superpriority Administrative Expense Status to Certain
                         Postpetition Intercompany Claims [Docket No. 11 - filed February 13,
                         2019]

                   6.    Debtors’ Motion for Orders Under 11 U.S.C. §§ 105(a) and 366 (I)
                         Prohibiting Utility Companies from Altering or Discontinuing Service on
                         Account of Prepetition Invoices, (II) Approving Deposit as Adequate
                         Assurance of Payment, and (III) Establishing Procedures for Resolving
                         Requests by Utility Companies for Additional Assurance of Payment
                         [Docket No. 13 - filed February 13, 2019]

                   7.    Debtors’ Motion for Order (I) Authorizing the Filing of (A) a
                         Consolidated Master List of Creditors, (B) a Consolidated List of the Top
                         Thirty Law Firms Representing Talc Claimants, and (C) a Consolidated
                         List of Creditors Holding the Thirty Largest Unsecured Claims, and (II)
                         Approving Certain Notice Procedures for Talc Claimants [Docket No. 5 -
                         filed February 13, 2019]

                   8.    Debtors’ Motion for Orders Under 11 U.S.C. §§ 105(a), 363(b), 1107(a),
                         and 1108 and Fed. R. Bankr. P. 6003 (I) Authorizing Payment of
                         Prepetition Claims of Critical Vendors; (II) Authorizing Financial
                         Institutions to Honor and Process Related Checks and Transfers; and (III)
                         Granting Related Relief [Docket No. 7 - filed February 13, 2019]

                   9.    Debtors’ Motion for Orders Under 11 U.S.C. §§ 105(a), 363(b), 1107(a),
                         and Fed. R. Bankr. P. 6003 (I) Authorizing Payment of Prepetition Claims
                         of Foreign Vendors; (II) Authorizing Financial Institutions to Honor and
                         Process Related Checks and Transfers; and (III) Granting Related Relief
                         [Docket No. 15 - filed February 13, 2019]


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                   10.    Debtors’ Motion for Orders Under 11 U.S.C. §§ 105(a), 363(b), 503(b),
                          541, 1107(a), and 1108 and Fed. R. Bankr. P. 6003 (I) Authorizing
                          Debtors to Pay Certain Prepetition Claims of Shippers, Lien Claimants,
                          Royalty Interest Owners, and 503(b)(9) Claimants, (II) Confirming
                          Administrative Expense Priority of Undisputed and Outstanding
                          Prepetition Orders, and (III) Granting Related Relief [Docket No. 4 - filed
                          February 13, 2019]

                   11.    Debtors’ Motion for Entry of Orders Under 11 U.S.C. §§ 105(a), 362(d),
                          363(b), 363(c), 506(a), 507(a), 541, 553, 1107(a), and 1108 and Fed. R.
                          Bankr. P. 6003 (I) Authorizing Payment of Certain Prepetition Workforce
                          Obligations, Including Compensation, Expense Reimbursements, Benefits,
                          and Related Obligations, (II) Confirming Right to Continue Workforce
                          Programs on Postpetition Basis, (III) Authorizing Payment of Withholding
                          and Payroll-Related Taxes, (IV) Authorizing Payment of Prepetition
                          Claims Owing to Administrators of, or Third Party Providers Under,
                          Workforce Programs, and (V) Authorizing Banks to Honor Prepetition
                          Checks and Fund Transfers for Authorized Payments [Docket No. 9 - filed
                          February 13, 2019]

                   12.    Debtors’ Motion for Orders Under 11 U.S.C. §§ 105(a), 363(b), 506(a),
                          507(a)(8), and 541 and Fed. R. Bankr. P. 6003 Authorizing Payment of
                          Prepetition Taxes and Fees [Docket No. 8 - filed February 13, 2019]

                   13.    Debtors’ Motion for Orders Under 11 U.S.C. §§ 105(a), 363(b), 363(c),
                          506(a), and 553 and Fed. R. Bankr. P. 6003 and 6004 Authorizing (I) the
                          Debtors to Honor Prepetition Obligations to Customers and to Otherwise
                          Continue Customer Programs and (II) Financial Institutions to Honor and
                          Process Related Checks and Transfers [Docket No. 12 - filed February 13,
                          2019]

                   14.    Debtors’ Motion for Order Under 11 U.S.C. §§ 105(a), 362(d), 363(b),
                          and 503(b) Authorizing Debtors to (I) Pay Their Prepetition Insurance
                          Obligations, (II) Pay Their Prepetition Bonding Obligations, (III) Maintain
                          Their Postpetition Insurance Coverage, and (IV) Maintain Their Bonding
                          Program [Docket No. 3 - filed February 13, 2019]

                    PLEASE TAKE FURTHER NOTICE that a hearing with respect to the First Day

Motions is scheduled for February 14, 2019 at 2:00 p.m. (Eastern Time) before The

Honorable Laurie Selber Silverstein, United States Bankruptcy Judge for the District of

Delaware, at the United States Bankruptcy Court for the District of Delaware, 824 North Market

Street, 6th Floor, Courtroom 2, Wilmington, Delaware 19801.


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                   PLEASE TAKE FURTHER NOTICE that objections, if any, to the First Day

Motions may be made at the First Day Hearing.


Dated: February 13, 2019               /s/ Michael J. Merchant
       Wilmington, Delaware

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                                       Proposed Counsel for Debtors and Debtors-in-
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